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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )



                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C), the Protective Order (ECF No. 98 and Modified

  Protective Order, ECF No. 203) and the Court’s order on an extension of time to respond to

  motions to seal exhibits, ECF No. 621, Plaintiffs, through their undersigned counsel, hereby

  respectfully move this Court to seal portions of and some exhibits to their Reply In Support of

  Plaintiffs’ Motion to Exclude Expert Testimony of Anthony Ferrante. The redacted portions

  contain material that Google has designated as highly confidential or Confidential. Consistent

  with the local rule and this Court’s Electronic Case Filing Policies and Procedures, undersigned

  counsel have filed the materials at issue using the sealed filing event on CM/ECF and hereby

  certify that they will serve a copy on opposing counsel and deliver a copy to this Court in a

  separate container labeled “UNDER SEAL.” The grounds for this motion are contained in the

  memorandum of law concurrently filed in support of this motion. A proposed order is attached

  for the Court’s convenience.
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  Dated: May 31, 2024



  Respectfully submitted,

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